
14 N.Y.2d 926 (1964)
In the Matter of John Dreher et al., Respondents,
v.
Robert F. Wagner et al., Constituting the Board of Estimate of the City of New York, et al., Appellants.
Court of Appeals of the State of New York.
Argued June 9, 1964.
Decided July 10, 1964.
Leo A. Larkin, Corporation Counsel (Alfred Weinstein, Seymour B. Quel and Irwin L. Herzog of counsel), for appellants.
Morris Rubenstein and Jerome M. Leitner for respondents.
Concur: Chief Judge DESMOND and Judges DYE, BURKE and BERGAN. Judges FULD, VAN VOORHIS and SCILEPPI dissent and vote to affirm on opinion by Judge FULD in Matter of Alweis v. Wagner (14 N Y 2d 923), decided herewith.
Order reversed and petition dismissed, with costs in this court and in the Appellate Division, on the authority of Matter of Alweis v. Wagner (14 N Y 2d 923), decided herewith.
